           Case 1:18-cv-04789-LMM Document 6 Filed 10/17/18 Page 1 of 2



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION



GEORGIA MUSLIM VOTER
PROJECT, et al.,

      Plaintiffs,

      v.                                             CIVIL ACTION NO.
                                                     1: 18-CV-04 789-LMM



BRIAN KEMP, et al.,



      Defendants.

                                      ORDER


      This case comes before the Court on Plaintiffs' Motion for Temporary

Restraining Order [5]. The Court ORDERS the parties to appear for a hearing on

Plaintiffs' Motion on Tuesday, October 23, 2018, at 1:00 p.rn., in Courtroom

2107 in the Richard Russell Federal Building, 75 Ted Turner Dr. S.W., Atlanta, GA




      Plaintiffs are ORDERED to serve Defendants with a copy of this Order,


the Complaint, and the Motion for Temporary Restraining Order by close of


business on Thursday, October 18, 2018. See FED. R. Crv. P. 4(i). Plaintiffs


should file proof of service on the docket once Defendants have been served with


this Order and the pleadings.

      Defendants are DIRECTED to file a Response Brief on Monday, October

22, 2018 by 12:00 p.rn. If for some reason Defendants are unable to comply with


this Order, they should alert Ms. Bachelor as soon as possible ((404) 215-1514). If
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              Case 1:18-cv-04789-LMM Document 6 Filed 10/17/18 Page 2 of 2




     Plaintiffs are inclined to file a Reply Brief, its reply shall be due by 9:00 a.in. on


     Tuesday, October 23, 2018.

                  IT IS S O ORDERED this 17th day of October, 2018.




                                                     Leig   Martin May
                                                     United States District Court




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